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                                           June 25th, 2024

The Honorable Matthew F. Kennelly
United States District Judge
Northern District of Illinois
219 S. Dearborn St., Suite 500
Chicago, IL 60604


       Re: TOHO CO., LTD., v. THE INDIVIDUALS, ET AL., Case No: 24-cv-4006

Dear Honorable Matthew F. Kennelly,

Our office represents Defendant No. 21, FUN FUN HOBBY JAPAN!. Pursuant to this Court’s
Order, there is a hearing on June 26th, 2024. In light of the dismissal entered yesterday against our
client, we will not appear in Court, unless the Court would like us to still be present.

Respectfully we have requested that the dismissal be refiled to allow a dismissal with prejudice, but
we are still awaiting a response from Plaintiff’s Counsel, Mr. William B. Kalbac.


If this Honorable Court has any remaining instructions please let me know and we will
immediately comply. We thank the Court for its time and attention to this matter.


                                                         Respectfully,

                                                        /s/ Cory Jay Rosenbaum
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